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 4                              UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )               Case No. 2:13-cr-00018-JCM-GWF
                                               )
 9   vs.                                       )               ORDER
                                               )
10   LEON BENZER, et al.,                      )
                                               )
11                     Defendants.             )
     __________________________________________)
12
13          This matter comes before the Court on Defendant Rudolfo Alvarez-Rodriguez’s Joinder to
14   Defendant Gregory’s Motion to Continue the Deadline for Pretrial Motions (#215), filed on
15   November 16, 2013. The Court previously granted Defendant Gregory’s motion to extend pretrial
16   deadline (#204) on November 14, 2013 (#214). Accordingly,
17          IT IS HEREBY ORDERED that Defendant Rudolfo Alvarez-Rodriguez’s Joinder to
18   Defendant Gregory’s Motion to Continue the Deadline for Pretrial Motions (#215) is granted.
19          IT IS FURTHER ORDERED that the last day to file pretrial motions for all parties shall
20   be January 24, 2014.
21          DATED this 18th day of November, 2013.
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23                                              ______________________________________
                                                GEORGE FOLEY, JR.
24                                              United States Magistrate Judge
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